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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

SPEECH TRANSCRIPTION, LLC,        §
                                  §
          Plaintiff,              §
                                  §
          v.                      §                            No. 3:23-cv-01155-S
                                  §
HUAWEI TECHNOLOGIES CO., LTD. AND §
HUAWEI TECHNOLOGIES USA, INC.,    §
                                  §
          Defendants.
                                  §

 HUAWEI TECHNOLOGIES USA INC.’S UNOPPOSED MOTION FOR EXTENSION
   OF TIME TO ANSWER OR OTHERWISE RESPOND TO THE COMPLAINT


       Huawei Technologies USA Inc. (“HTU”) respectfully requests the Court for an extension

of time to answer or otherwise respond to Speech Transcription, LLC’s Original Complaint for

Patent Infringement (“Complaint”) (Dkt. No. 1). HTU was served with the Complaint on July

14, 2023. Thus, HTU’s current deadline to respond is August 4, 2023. HTU requests that the

Court extend the deadline 45 days to September 18, 2023. Plaintiff’s counsel has agreed to

extend the deadline for HTU. The requested extension is not sought for the purposes of delay

but so that justice may be done, including so that HTU may have sufficient time to review the

Complaint and to prepare its answer or response.




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Dated: August 1, 2023                             Respectfully submitted,

                                                  By: /s/ Mark J. Ziegelbein
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                                                  ATTORNEYS FOR DEFENDANT
                                                  HUAWEI TECHNOLOGIES USA INC.


                                 CERTIFICATE OF SERVICE

       I certify that on August 1, 2023, the foregoing document was electronically submitted

with the clerk of court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all counsel and/or pro se

parties of record electronically or by another manner authorized by Federal Rule of Civil

Procedure 5(b)(2).

                                              /s/ Mark J. Ziegelbein
                                              Mark J. Ziegelbein



                              CERTIFICATE OF CONFERENCE

       I certify that on July 28, 2023, I communicated with Plaintiff’s counsel via email

regarding the relief requested herein. Plaintiff’s counsel does not oppose the relief requested.

                                              /s/ Mark J. Ziegelbein
                                              Mark J. Ziegelbein




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